      Case 8:22-bk-10948-SC        Doc 23 Filed 06/08/22 Entered 06/08/22 19:37:09         Desc
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 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                             UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
 99                                    SANTA ANA DIVISION

10
10    In re:                                           Lead Case No.: 8:22-bk-10948-SC
11
11    TRX HOLDCO, LLC, a Delaware limited              Jointly administered with:
      liability company,                               8:22-bk-10949-SC
12
12
13
13             Debtor and Debtor in Possession.        Chapter 11 Cases
      ____________________________________
14
14    In re:                                           NOTICE OF SUBMISSION OF
                                                       REFORMATTED    BUDGETS   IN
15
15    FITNESS ANYWHERE LLC, a Delaware                 SUPPORT     OF     DEBTORS’
16    limited liability company, dba TRX and TRX       EMERGENCY MOTION FOR ENTRY
16
      Training,                                        OF   AN    INTERIM   ORDER
17
17                                                     AUTHORIZING THE DEBTORS TO
               Debtor and Debtor in Possession.        USE CASH COLLATERAL AND
18
18    ____________________________________             RELATED RELIEF
19
19                                                     DATE:      June 10, 2022
20       Affects both Debtors                          TIME:      10:00 a.m.
20
                                                       PLACE:     *Via ZoomGov
21
21      Affects TRX Holdco, LLC only                              Courtroom 5C
                                                                  411 West Fourth Street
22
22       Affects Fitness Anywhere, LLC only                       Santa Ana, CA 92701
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 11          PLEASE TAKE NOTICE that TRX Holdco, LLC (“Hold Co”) and Fitness Anywhere

 22   LLC, dba TRX and TRX Training (“Product Co” and together with Hold Co and Product Co,

 33   the “Debtors”), the debtors and debtors-in-possession in the above-captioned, jointly-

 44   administered, Chapter 11 bankruptcy cases, hereby submit the following reformatted versions of

 55   the Budgets referenced as Exhibits 2, 3 and 4 in the Debtors’ emergency motion for the entry of

 66   an interim order authorizing the Debtors to use cash collateral and related relief (the “Cash

 77   Collateral Motion”). It has been brought to the Debtors’ attention that the Budgets attached as

 88   Exhibits 2, 3 and 4 to the Declaration of James S. Feltman filed in support of the Cash

 99   Collateral Motion have been presented in a format and font that render the Budgets difficult to
10
10    read in hard copy format. Accordingly, the Debtors hereby submit versions of the Budgets that
11
11    are identical in all respects except for the format and font.
12
12           The reformatted Budget for Product Co is attached as Exhibit 2 hereto.
13
13           The reformatted Budget for Hold Co is attached as Exhibit 3 hereto.
14
14           The reformatted consolidated Budget is attached as Exhibit 4 hereto.
15
15    Dated: June 8, 2022                            TRX HOLDCO, LLC
16
16                                                   FITNESS ANYWHERE LLC

17
17                                                   By:     /s/ Krikor J. Meshefejian
                                                             RON BENDER
18
18                                                           KRIKOR J. MESHEFEJIAN
                                                             LINDSEY L. SMITH
19
19
                                                             LEVENE, NEALE, BENDER,
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20                                                           YOO & GOLUBCHIK L.L.P.
                                                             Proposed Attorneys for Chapter 11 Debtors
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21                                                           and Debtors in Possession
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                                EXHIBIT 2
                     Case 8:22-bk-10948-SC                          Doc 23 Filed 06/08/22 Entered 06/08/22 19:37:09                                                         Desc
                                                                    Main Document
Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC (known as "HoldCo")    Page 4 of 13
Debtors Cash Collateral Budget
As of June 8, 2022
$USD                                                            Post-Petition        Post-Petition        Post-Petition        Post-Petition        Post-Petition        Post-Petition        Post-Petition
                         Week -->                                 Week 1               Week 2               Week 3               Week 4               Week 5               Week 6               Week 7
                         From -->                                6/8/2022             6/13/2022            6/20/2022            6/27/2022             7/4/2022            7/11/2022            7/18/2022
                    Week-Ending -->                              6/12/2022            6/19/2022            6/26/2022             7/3/2022            7/10/2022            7/17/2022            7/24/2022
PRODUCTCO
Beginning ProductCo Cash Balance                            $          827,079   $        1,347,391   $        1,745,131   $        2,005,084   $        1,487,788   $        1,670,438   $         2,177,983
 Ecommerce NA & UK                                          $           89,045   $          102,714   $          102,714   $          108,835   $          108,835   $          108,835   $           108,835
 Amazon FBA International                                               24,989                  -                 24,989                  -                 24,989                  -                  24,989
 Amazon FBA NA                                                             -                312,235                  -                436,970                  -                436,970                   -
 Transfers from Non-Debtor Affiliate (Japan)                               -                    -                    -                  5,000                  -                    -                     -
 Accounts Receivables Collections                                      406,277              531,169              482,981              479,037              526,556              550,738               500,775

  TOTAL PRODUCTCO SOURCES                                   $          520,312   $          946,118   $          610,684   $        1,029,842   $          660,381   $        1,096,544   $           634,600
 Payroll, Payroll Tax & Benefits                            $               -    $          244,274   $              -     $          242,267   $              -     $          242,267   $               -
 Commission                                                                 -                   -                    -                 30,000                  -                    -                     -
 Contractors                                                                -                20,000               20,000              119,500               47,000               51,000                47,000
 Key Consultants                                                            -                   -                    -                  8,889                  -                    -                     -
 Rent                                                                       -                   -                    -                 47,500                  -                    -                     -
 Marketing                                                                  -                   -                    -                724,000                  -                    -                     -
 Insurance                                                                  -                   -                 80,000                  -                    -                    -                  80,000
 Logistics                                                                  -               128,982              128,982              128,982              128,982              128,982               128,982
 Non-BK Professionals                                                       -                   -                    -                 60,850                  -                    -                     -
 Technology                                                                 -                   -                    -                 10,400               90,000                  -                     -
 Utilities                                                                  -                 3,000                  -                  3,000                  -                    -                     -
 Other Expenses, Vendors                                                    -                75,000               75,000               80,000               75,000               75,000                75,000
 Sales tax                                                                  -                   -                    -                    -                100,000                  -                     -
 Transfers to Non-Debtor Accounts(1)                                        -                   -                 20,000                  -                 20,000                  -                  20,000
 Management Payroll - InterCo Transfer to HoldCo                            -                60,372                  -                 75,000                  -                 75,000                   -
 Foreign Key Vendors                                                        -                16,750               26,750               16,750               16,750               16,750                26,750
 BK Professionals(2)                                                        -                   -                    -                    -                    -                    -                     -
 US Trustee Fees                                                            -                   -                    -                    -                    -                    -                     -

  TOTAL PRODUCTCO DISBURSEMENTS                             $               -    $          548,378   $          350,732   $        1,547,138   $          477,732   $          588,999   $           377,732

PRODUCTCO - CASH ROLLFORWARD
Beginning PRODUCTCO Cash Balance                            $          827,079   $        1,347,391 $          1,745,131 $          2,005,084 $          1,487,788 $          1,670,438 $           2,177,983
(+) ProductCo Receipts                                                 520,312              946,118              610,684            1,029,842              660,381            1,096,544               634,600
(-) ProductCo Disbursements                                                -               (548,378)            (350,732)          (1,547,138)            (477,732)            (588,999)             (377,732)
Ending ProductCo Cash Balance                               $        1,347,391   $        1,745,131   $        2,005,084   $        1,487,788   $        1,670,438   $        2,177,983   $         2,434,851

Change in ProductCo Cash from Previous Week                                      $          397,740   $          259,953   $         (517,295) $           182,649   $          507,545   $           256,868

Inventory Rollforward
Beginning Inventory                                         $     17,847,150     $      17,536,640    $      17,045,041    $      16,727,971    $      16,157,644    $      15,837,799    $      15,267,636
              (4)
(+) Purchases                                                            -                     -                    -                    -                    -                    -                    -
(-) Cost of Goods                                                   (310,510)             (491,599)            (317,070)            (570,326)            (319,845)            (570,163)            (319,845)
= Ending Inventory                                          $     17,536,640 $          17,045,041 $         16,727,971 $         16,157,644 $         15,837,799 $         15,267,636 $         14,947,791
                                      (5)
Accounts Receivable Rollforward
Beginning AR                                               $      5,157,699 $            5,277,640 $           5,272,688 $         5,315,924 $          5,363,105 $          5,362,426 $           5,337,565
(+) Sales (Domestic Commercial, Retail, Government, Intl. Dist.)    526,218                526,218               526,218             526,218              525,877              525,877               525,877
(-) Collections (Domestic Commercial, Retail, Government, Intl. Dist.)
                                                                   (406,277)              (531,169)             (482,981)           (479,037)            (526,556)            (550,738)             (500,775)
= Ending AR                                                $      5,277,640 $            5,272,688 $           5,315,924 $         5,363,105 $          5,362,426 $          5,337,565 $           5,362,667

Notes
(1) There is approximately an additional 80,000 GBP outstanding related to VAT that is not currently included.
(2) There are no bankruptcy professional payments in this forecast.
(3) Assumes 8 business days of post-petition payroll paid in Week 2.
(4) These amounts do not include additional purchases of inventory.
(5) These amounts do not include sales activity relating to Ecommerce and Amazon.
                        Case 8:22-bk-10948-SC                         Doc 23 Filed 06/08/22 Entered 06/08/22 19:37:09                                                       Desc
                                                                      Main Document
Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC (known as "HoldCo")      Page 5 of 13
Debtors Cash Collateral Budget
As of June 8, 2022
$USD                                                            Post-Petition        Post-Petition         Post-Petition        Post-Petition         Post-Petition         Post-Petition
                         Week -->                                 Week 8               Week 9               Week 10              Week 11               Week 12               Week 13           Current Rolling
                         From -->                                7/25/2022            8/1/2022              8/8/2022             8/15/2022             8/22/2022             8/29/2022           13 Weeks
                    Week-Ending -->                              7/31/2022            8/7/2022              8/14/2022            8/21/2022             8/28/2022              9/4/2022
PRODUCTCO
Beginning ProductCo Cash Balance                            $        2,434,851   $         1,767,331   $        2,165,430   $         2,586,342   $         2,890,144   $         3,229,068    $      827,079
 Ecommerce NA & UK                                          $          108,835   $           108,566   $          108,566   $           108,566   $           108,566   $           108,566    $    1,381,477
 Amazon FBA International                                                  -                  24,989                  -                  24,989                   -                  24,989           174,925
 Amazon FBA NA                                                         436,970                   -                304,444                   -                 304,444                   -           2,232,033
 Transfers from Non-Debtor Affiliate (Japan)                             5,000                   -                    -                     -                     -                   5,000            15,000
 Accounts Receivables Collections                                      514,626               565,676              591,654               537,979               514,626               565,920         6,768,016

  TOTAL PRODUCTCO SOURCES                                   $        1,065,432   $           699,231   $        1,004,664   $           671,534   $           927,636   $           704,475    $   10,571,451
 Payroll, Payroll Tax & Benefits                            $          231,981   $               -     $          231,981   $               -     $           231,981   $               -      $    1,424,750
 Commission                                                             30,000                   -                    -                     -                     -                     -              60,000
 Contractors                                                           119,500                47,000               51,000                47,000                51,000               115,500           735,500
 Key Consultants                                                         8,889                   -                    -                     -                     -                   8,889            26,667
 Rent                                                                   47,500                   -                    -                     -                     -                  47,500           142,500
 Marketing                                                             769,500                 4,500                  -                     -                     -                 724,000         2,222,000
 Insurance                                                                 -                     -                    -                  80,000                   -                     -             240,000
 Logistics                                                             128,982               128,982              128,982               128,982               128,982               128,982         1,547,779
 Non-BK Professionals                                                  120,350                   -                    -                     -                     -                  52,000           233,200
 Technology                                                              1,500                 8,900                5,040                   -                     -                  10,400           126,240
 Utilities                                                               3,000                   -                    -                     -                     -                   3,000            12,000
 Other Expenses, Vendors                                                80,000                75,000               75,000                75,000                75,000                80,000           915,000
 Sales tax                                                             100,000                   -                    -                     -                     -                 100,000           300,000
 Transfers to Non-Debtor Accounts(1)                                       -                  20,000                  -                  20,000                   -                  20,000           120,000
 Management Payroll - InterCo Transfer to HoldCo                        75,000                   -                 75,000                   -                  75,000                   -             435,372
 Foreign Key Vendors                                                    16,750                16,750               16,750                16,750                26,750                   -             214,250
 BK Professionals(2)                                                       -                     -                    -                     -                     -                     -                 -
 US Trustee Fees                                                           -                     -                    -                     -                     -                     -                 -

  TOTAL PRODUCTCO DISBURSEMENTS                             $        1,732,951   $           301,132   $          583,752   $           367,732   $           588,712   $         1,290,271    $    8,755,258

PRODUCTCO - CASH ROLLFORWARD
Beginning PRODUCTCO Cash Balance                            $        2,434,851 $           1,767,331 $          2,165,430 $           2,586,342 $           2,890,144 $           3,229,068    $      827,079
(+) ProductCo Receipts                                               1,065,432               699,231            1,004,664               671,534               927,636               704,475        10,571,451
(-) ProductCo Disbursements                                         (1,732,951)             (301,132)            (583,752)             (367,732)             (588,712)           (1,290,271)       (8,755,258)
Ending ProductCo Cash Balance                               $        1,767,331   $         2,165,430   $        2,586,342   $         2,890,144   $         3,229,068   $         2,643,272    $    2,643,272

Change in ProductCo Cash from Previous Week                 $         (667,520) $            398,099   $          420,912   $           303,803   $           338,924   $          (585,796)

Inventory Rollforward
Beginning Inventory                                         $      14,947,791    $       14,377,628    $     14,057,912     $      13,569,124     $      13,250,132     $      12,761,345      $   17,847,150
              (4)
(+) Purchases                                                             -                     -                   -                     -                     -                     -                   -
(-) Cost of Goods                                                    (570,163)             (319,716)           (488,788)             (318,992)             (488,788)             (318,992)         (5,404,798)
= Ending Inventory                                          $      14,377,628 $          14,057,912 $        13,569,124 $          13,250,132 $          12,761,345 $          12,442,352      $   12,442,352
                                      (5)
Accounts Receivable Rollforward
Beginning AR                                               $      5,362,667 $             5,373,918 $          5,334,120 $           5,266,835 $           5,253,226 $           5,262,969     $    5,157,699
(+) Sales (Domestic Commercial, Retail, Government, Intl. Dist.)     525,877                525,877              524,370               524,370               524,370               524,370          6,831,736
(-) Collections (Domestic Commercial, Retail, Government, Intl. Dist.)
                                                                    (514,626)              (565,676)            (591,654)             (537,979)             (514,626)             (565,920)        (6,768,016)
= Ending AR                                                $      5,373,918 $             5,334,120 $          5,266,835 $           5,253,226 $           5,262,969 $           5,221,419     $    5,221,419

Notes
(1) There is approximately an additional 80,000 GBP outstanding related to VAT that is not currently included.
(2) There are no bankruptcy professional payments in this forecast.
(3) Assumes 8 business days of post-petition payroll paid in Week 2.
(4) These amounts do not include additional purchases of inventory.
(5) These amounts do not include sales activity relating to Ecommerce and Amazon.
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                                EXHIBIT 3
                         Case 8:22-bk-10948-SC          Doc 23 Filed 06/08/22 Entered 06/08/22 19:37:09                                                         Desc
Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo,Main  Document
                                                          LLC (known as "HoldCo") Page 7 of 13
Debtors Cash Collateral Budget
As of June 8, 2022
$USD                                                           Post-Petition       Post-Petition       Post-Petition        Post-Petition       Post-Petition       Post-Petition       Post-Petition
                         Week -->                                Week 1              Week 2              Week 3               Week 4              Week 5              Week 6              Week 7
                         From -->                                6/8/2022           6/13/2022           6/20/2022            6/27/2022            7/4/2022           7/11/2022           7/18/2022
                    Week-Ending -->                             6/12/2022           6/19/2022           6/26/2022             7/3/2022           7/10/2022           7/17/2022           7/24/2022

HOLDCO
Beginning HoldCo Cash Balance                              $         106,113   $         146,113   $          183,613   $         160,663   $         193,663   $         192,663   $          186,663

 Education/CORE - ExperienceCo                        $               40,000   $          50,000   $           50,000   $          50,000   $          50,000   $          50,000   $           50,000
 Apple Subscriptions - ExperienceCo                                      -                   -                    -                40,000                 -                   -                    -
 Management Payroll - InterCo Transfer from ProductCo                    -                60,372                  -                75,000                 -                75,000                  -
 Other                                                                   -                   -                    -                   -                   -                   -                    -

  TOTAL HOLDCO SOURCES                                     $          40,000   $         110,372   $           50,000   $         165,000   $          50,000   $         125,000   $           50,000
                                   (3)
 Payroll, Payroll Tax & Benefits                           $              -    $          60,372   $              -     $          75,000   $             -     $          75,000   $              -
 Contractors                                                              -                  -                 13,500              13,500              13,500              13,500               13,500
 Key Consultants                                                          -               12,500                  -                12,500                 -                12,500                  -
 UK Studio Rent                                                           -                  -                  3,000                 -                   -                   -                  3,000
 Marketing                                                                -                  -                 17,500              17,500              17,500              17,500               17,500
 Technology                                                               -                  -                    -                 1,000                 -                   -                    -
 Other Expenses                                                           -                  -                 12,500              12,500              12,500              12,500               12,500
 Growth Initiative                                                        -                  -                 26,450                 -                 7,500                 -                 26,450

  TOTAL HOLDCO DISBURSEMENTS                               $              -    $          72,872   $           72,950   $         132,000   $          51,000   $         131,000   $           72,950

HOLDCO - CASH ROLLFORWARD
Beginning HOLDCO Cash                                      $         106,113   $         146,113 $            183,613 $           160,663 $           193,663 $           192,663 $            186,663
(+) HoldCo Receipts                                                   40,000             110,372               50,000             165,000              50,000             125,000               50,000
(-) HoldCo Disbursements                                                 -               (72,872)             (72,950)           (132,000)            (51,000)           (131,000)             (72,950)
Ending HoldCo Cash Balance                                 $         146,113   $         183,613   $          160,663   $         193,663   $         192,663   $         186,663   $          163,713

Change in HoldCo Cash from Previous Week                                       $          37,500   $          (22,950) $           33,000   $           (1,000) $           (6,000) $          (22,950)


Notes
(1) There is approximately an additional 80,000 GBP outstanding related to VAT that is not currently included.
(2) There are no bankruptcy professional payments in this forecast.
(3) Assumes 8 business days of post-petition payroll paid in Week 2.
(4) These amounts do not include additional purchases of inventory.
(5) These amounts do not include sales activity relating to Ecommerce and Amazon.
                           Case 8:22-bk-10948-SC           Doc 23 Filed 06/08/22 Entered 06/08/22 19:37:09                                                          Desc
                                                            Main
Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC     Document
                                                               (known as "HoldCo") Page 8 of 13
Debtors Cash Collateral Budget
As of June 8, 2022
$USD                                                            Post-Petition       Post-Petition        Post-Petition       Post-Petition        Post-Petition         Post-Petition
                         Week -->                                 Week 8              Week 9              Week 10             Week 11              Week 12               Week 13          Current Rolling
                         From -->                                7/25/2022            8/1/2022             8/8/2022           8/15/2022            8/22/2022             8/29/2022          13 Weeks
                    Week-Ending -->                              7/31/2022            8/7/2022            8/14/2022           8/21/2022            8/28/2022              9/4/2022

HOLDCO
Beginning HoldCo Cash Balance                              $          163,713   $          197,713   $         195,713   $          189,713   $          166,763    $          173,263    $     106,113

 Education/CORE - ExperienceCo                        $                50,000   $           50,000   $          50,000   $           50,000   $           50,000    $           50,000    $     640,000
 Apple Subscriptions - ExperienceCo                                    40,000                  -                   -                    -                    -                  40,000          120,000
 Management Payroll - InterCo Transfer from ProductCo                  75,000                  -                75,000                  -                 75,000                   -            435,372
 Other                                                                    -                    -                   -                    -                    -                     -                -

  TOTAL HOLDCO SOURCES                                     $          165,000   $           50,000   $         125,000   $           50,000   $          125,000    $           90,000    $   1,195,372
                                   (3)
 Payroll, Payroll Tax & Benefits                           $           75,000   $              -     $          75,000   $              -     $           75,000    $              -      $     435,372
 Contractors                                                           13,500               13,500              13,500               13,500               13,500                13,500          148,500
 Key Consultants                                                       12,500                  -                12,500                  -                    -                     -             62,500
 UK Studio Rent                                                           -                    -                   -                  3,000                  -                     -              9,000
 Marketing                                                             17,500               17,500              17,500               17,500               17,500                17,500          192,500
 Technology                                                               -                  1,000                 -                    -                    -                   1,000            3,000
 Other Expenses                                                        12,500               12,500              12,500               12,500               12,500                12,500          137,500
 Growth Initiative                                                        -                  7,500                 -                 26,450                  -                   7,500          101,850

  TOTAL HOLDCO DISBURSEMENTS                               $          131,000   $           52,000   $         131,000   $           72,950   $          118,500    $           52,000    $   1,090,222

HOLDCO - CASH ROLLFORWARD
Beginning HOLDCO Cash                                       $         163,713 $            197,713 $           195,713 $            189,713 $            166,763 $             173,263    $      106,113
(+) HoldCo Receipts                                                   165,000               50,000             125,000               50,000              125,000                90,000         1,195,372
(-) HoldCo Disbursements                                             (131,000)             (52,000)           (131,000)             (72,950)            (118,500)              (52,000)       (1,090,222)
Ending HoldCo Cash Balance                                 $          197,713   $          195,713   $         189,713   $          166,763   $          173,263    $          211,263    $     211,263

Change in HoldCo Cash from Previous Week                   $           34,000   $            (2,000) $           (6,000) $          (22,950) $              6,500   $           38,000


Notes
(1) There is approximately an additional 80,000 GBP outstanding related to VAT that is not currently included.
(2) There are no bankruptcy professional payments in this forecast.
(3) Assumes 8 business days of post-petition payroll paid in Week 2.
(4) These amounts do not include additional purchases of inventory.
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Case 8:22-bk-10948-SC   Doc 23 Filed 06/08/22 Entered 06/08/22 19:37:09   Desc
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                                EXHIBIT 4
                          Case 8:22-bk-10948-SC                       Doc 23 Filed 06/08/22 Entered 06/08/22 19:37:09                                             Desc
                                                                      Main Document    Page 10 of 13
Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC (known as "HoldCo")
Debtors Cash Collateral Budget
As of June 8, 2022
$USD                                                             Post-Petition       Post-Petition       Post-Petition        Post-Petition       Post-Petition       Post-Petition       Post-Petition
                       Week -->                                    Week 1              Week 2              Week 3               Week 4              Week 5              Week 6              Week 7
                       From -->                                    6/8/2022           6/13/2022           6/20/2022            6/27/2022            7/4/2022           7/11/2022           7/18/2022
                    Week-Ending -->                               6/12/2022           6/19/2022           6/26/2022             7/3/2022           7/10/2022           7/17/2022           7/24/2022
CONSOLIDATED
Beginning TOTAL Cash Balance                                 $         933,192   $       1,493,504   $       1,928,744    $       2,165,747   $       1,681,452   $       1,863,101   $        2,364,646
 Ecommerce NA & UK - ProductCo                               $          89,045   $         102,714   $          102,714   $         108,835   $         108,835   $         108,835   $          108,835
 Amazon FBA International - ProductCo                                   24,989                 -                 24,989                 -                24,989                 -                 24,989
 Amazon FBA NA - ProductCo                                                 -               312,235                  -               436,970                 -               436,970                  -
 Transfers from Non-Debtor Affiliate (Japan)                               -                   -                    -                 5,000                 -                   -                    -
 Accounts Receivables Collections - ProductCo                          406,277             531,169              482,981             479,037             526,556             550,738              500,775
 Education/CORE - ExperienceCo                                          40,000              50,000               50,000              50,000              50,000              50,000               50,000
 Apple Subscriptions - ExperienceCo                                        -                   -                    -                40,000                 -                   -                    -
 Management Payroll - InterCo Transfer from ProductCo                      -                60,372                  -                75,000                 -                75,000                  -
 Other - HoldCo                                                            -                   -                    -                   -                   -                   -                    -
   TOTAL SOURCES                                             $         560,312   $       1,056,490   $          660,684   $       1,194,842   $         710,381   $       1,221,544   $          684,600

 Payroll, Payroll Tax & Benefits(1)                          $              -    $         304,646   $              -     $         317,267   $             -     $         317,267   $              -
 Commission                                                                 -                  -                    -                30,000                 -                   -                    -
 Contractors                                                                -               20,000               33,500             133,000              60,500              64,500               60,500
 Key Consultants                                                            -               12,500                  -                21,389                 -                12,500                  -
 Rent                                                                       -                  -                  3,000              47,500                 -                   -                  3,000
 Marketing                                                                  -                  -                 17,500             741,500              17,500              17,500               17,500
 Insurance                                                                  -                  -                 80,000                 -                   -                   -                 80,000
 Logistics                                                                  -              128,982              128,982             128,982             128,982             128,982              128,982
 Non-BK Professionals                                                       -                  -                    -                60,850                 -                   -                    -
 Technology                                                                 -                  -                    -                11,400              90,000                 -                    -
 Utilities                                                                  -                3,000                  -                 3,000                 -                   -                    -
 Transfers to Non-Debtor Accounts(2)                                        -                  -                 20,000                 -                20,000                 -                 20,000
 Sales Tax                                                                  -                  -                    -                   -               100,000                 -                    -
 Other Expenses, Vendors                                                    -               75,000               75,000              80,000              75,000              75,000               75,000
 Growth Initiative                                                          -                  -                 26,450                 -                 7,500                 -                 26,450
 Miscellaneous, Other                                                       -                  -                 12,500              12,500              12,500              12,500               12,500
 Management Payroll - InterCo Transfer to HoldCo                            -               60,372                  -                75,000                 -                75,000                  -
 Foreign Key Vendors                                                        -               16,750               26,750              16,750              16,750              16,750               26,750
 BK Professionals(3)                                                        -                  -                    -                   -                   -                   -                    -
 US Trustee Fees                                                            -                  -                    -                   -                   -                   -                    -
   TOTAL DISBURSEMENTS                                       $              -    $         621,249   $          423,682   $       1,679,138   $         528,732   $         719,999   $          450,682

Net Cash                                                     $         560,312   $         435,240   $          237,003   $        (484,295) $          181,649   $         501,545   $          233,918
TOTAL - CASH ROLLFORWARD
Beginning TOTAL Cash Balance                                 $         933,192   $       1,493,504 $         1,928,744 $          2,165,747 $         1,681,452 $         1,863,101 $          2,364,646
(+) Total Receipts                                                     560,312           1,056,490             660,684            1,194,842             710,381           1,221,544              684,600
(-) Total Disbursements                                                    -              (621,249)           (423,682)          (1,679,138)           (528,732)           (719,999)            (450,682)
Ending TOTAL Cash Balance                                    $       1,493,504   $       1,928,744 $         2,165,747 $          1,681,452 $         1,863,101 $         2,364,646 $          2,598,564


Notes
(1) Assumes 8 business days of post-petition payroll paid in Week 2.
(2) There is approximately an additional 80,000 GBP outstanding related to VAT that is not currently included.
(3) There are no bankruptcy professional payments in this forecast.
This forecast does not include additional purchases of inventory.
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Fitness Anywhere, LLC (known as "ProductCo") & TRX HoldCo, LLC (known as "HoldCo")
Debtors Cash Collateral Budget
As of June 8, 2022
$USD                                                             Post-Petition       Post-Petition        Post-Petition       Post-Petition        Post-Petition        Post-Petition
                       Week -->                                    Week 8              Week 9              Week 10             Week 11              Week 12              Week 13          Current Rolling
                       From -->                                   7/25/2022            8/1/2022             8/8/2022           8/15/2022            8/22/2022            8/29/2022          13 Weeks
                    Week-Ending -->                               7/31/2022            8/7/2022            8/14/2022           8/21/2022            8/28/2022             9/4/2022
CONSOLIDATED
Beginning TOTAL Cash Balance                                 $       2,598,564   $        1,965,044   $       2,361,143   $        2,776,055   $        3,056,908   $        3,402,331    $     933,192
 Ecommerce NA & UK - ProductCo                               $         108,835   $          108,566   $         108,566   $          108,566   $          108,566   $          108,566    $    1,381,477
 Amazon FBA International - ProductCo                                      -                 24,989                 -                 24,989                  -                 24,989           174,925
 Amazon FBA NA - ProductCo                                             436,970                  -               304,444                  -                304,444                  -           2,232,033
 Transfers from Non-Debtor Affiliate (Japan)                             5,000                  -                   -                    -                    -                  5,000            15,000
 Accounts Receivables Collections - ProductCo                          514,626              565,676             591,654              537,979              514,626              565,920         6,768,016
 Education/CORE - ExperienceCo                                          50,000               50,000              50,000               50,000               50,000               50,000           640,000
 Apple Subscriptions - ExperienceCo                                     40,000                  -                   -                    -                    -                 40,000           120,000
 Management Payroll - InterCo Transfer from ProductCo                   75,000                  -                75,000                  -                 75,000                  -
 Other - HoldCo                                                            -                    -                   -                    -                    -                    -                 -
   TOTAL SOURCES                                             $       1,230,432   $          749,231   $       1,129,664   $          721,534   $        1,052,636   $          794,475    $   11,331,451

 Payroll, Payroll Tax & Benefits(1)                          $         306,981   $              -     $         306,981   $              -     $          306,981   $              -      $    1,860,122
 Commission                                                             30,000                  -                   -                    -                    -                    -              60,000
 Contractors                                                           133,000               60,500              64,500               60,500               64,500              129,000           884,000
 Key Consultants                                                        21,389                  -                12,500                  -                    -                  8,889            89,167
 Rent                                                                   47,500                  -                   -                  3,000                  -                 47,500           151,500
 Marketing                                                             787,000               22,000              17,500               17,500               17,500              741,500         2,414,500
 Insurance                                                                 -                    -                   -                 80,000                  -                    -             240,000
 Logistics                                                             128,982              128,982             128,982              128,982              128,982              128,982         1,547,779
 Non-BK Professionals                                                  120,350                  -                   -                    -                    -                 52,000           233,200
 Technology                                                              1,500                9,900               5,040                  -                    -                 11,400           129,240
 Utilities                                                               3,000                  -                   -                    -                    -                  3,000            12,000
 Transfers to Non-Debtor Accounts(2)                                       -                 20,000                 -                 20,000                  -                 20,000           120,000
 Sales Tax                                                             100,000                  -                   -                    -                    -                100,000           300,000
 Other Expenses, Vendors                                                80,000               75,000              75,000               75,000               75,000               80,000           915,000
 Growth Initiative                                                         -                  7,500                 -                 26,450                  -                  7,500           101,850
 Miscellaneous, Other                                                   12,500               12,500              12,500               12,500               12,500               12,500           137,500
 Management Payroll - InterCo Transfer to HoldCo                        75,000                  -                75,000                  -                 75,000                  -             435,372
 Foreign Key Vendors                                                    16,750               16,750              16,750               16,750               26,750                  -             214,250
 BK Professionals(3)                                                       -                    -                   -                    -                    -                    -                 -
 US Trustee Fees                                                           -                    -                   -                    -                    -                    -                 -
   TOTAL DISBURSEMENTS                                       $       1,863,951   $          353,132   $         714,752   $          440,682   $          707,212   $        1,342,271    $    9,845,480

Net Cash                                                     $        (633,520) $           396,099   $         414,912   $          280,853   $          345,424   $         (547,796)   $    1,485,971
TOTAL - CASH ROLLFORWARD
Beginning TOTAL Cash Balance                                 $       2,598,564 $          1,965,044 $         2,361,143 $          2,776,055 $          3,056,908 $          3,402,331    $      933,192
(+) Total Receipts                                                   1,230,432              749,231           1,129,664              721,534            1,052,636              794,475        11,766,823
(-) Total Disbursements                                             (1,863,951)            (353,132)           (714,752)            (440,682)            (707,212)          (1,342,271)       (9,845,480)
Ending TOTAL Cash Balance                                    $       1,965,044 $          2,361,143 $         2,776,055 $          3,056,908 $          3,402,331 $          2,854,536    $    2,854,536


Notes
(1) Assumes 8 business days of post-petition payroll paid in Week 2.
(2) There is approximately an additional 80,000 GBP outstanding related to VAT that is not currently included.
(3) There are no bankruptcy professional payments in this forecast.
This forecast does not include additional purchases of inventory.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034


A true and correct copy of the foregoing document entitled (specify): NOTICE OF SUBMISSION OF REFORMATTED
BUDGETS IN SUPPORT OF DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN INTERIM ORDER
AUTHORIZING THE DEBTORS TO USE CASH COLLATERAL AND RELATED RELIEF will be served or was served
(a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 8, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 8, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 8, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

SERVED BY PERSONAL DELIVERY
Honorable Scott C. Clarkson
U.S. Bankruptcy Court, Ronald Reagan Federal Building
411 West Fourth Street
Suite 5130
Santa Ana, CA 92701-4593

SERVED VIA EMAIL

Office of the United States Trustee
Attn: Michael J. Hauser
Email: Michael.Hauser@usdoj.gov

Counsel to Secured Creditor Woodforest National Bank
Attn: Marsha A. Houston
      Christopher O. Rivas
Email: mhouston@reedsmith.com; crivas@reedsmith.com

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                                               Service information BY OVERNIGHT MAIL continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 8, 2022                 Krikor J. Meshefejian                                             /s/ Krikor J. Meshefejian
 Date                          Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
